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3036112 - SLM

                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


GREAT AMERICAN INSURANCE COMPANY,            )
                                             )
                                             )
                     Plaintiff,              )
                                             )
      v.                                     )          Case No: 17-cv-3083
                                             )
STATE PARKWAY CONDOMINIUM ASSOCIATION; )
LIEBERMAN MANAGEMENT SERVICES, INC.;         )
DONNA WEBER; MICHAEL J. NOVAK,               )
INDIVIDUALLY AND IN HIS REPRESENTATIVE       )
CAPACITY FOR HIS MINOR CHILD T.N. AS         )
PARENT AND NEXT FRIEND; and                  )
CHRISTINA BUGELAS NOVAK,                     )
                                             )
                                             )
                     Defendants.             )
                                             )
                                             )
STATE PARKWAY CONDOMINIUM ASSOCIATION, )
                                             )
                     Counter-Plaintiff,      )
                     Third-Party Plaintiff   )
                                             )
      v.                                     )
                                             )
TRAVELERS CASUALTY AND SURETY COMPANY )
OF AMERICA; AMERICAN INTERNATIONAL           )
SPECIALTY LINES INSURANCE COMPANY;           )
HARLEYSVILLE LAKE STATES INSURANCE           )
COMPANY; STEADFAST INSURANCE COMPANY; )
and STRATHMORE INSURANCE COMPANY,            )
                                             )
                     Third-Party Defendants. )

AGREED MOTION FOR EXTENSION OF TIME FOR THIRD-PARTY DEFENDANT,
  HARLEYSVILLE LAKE STATES INSURANCE COMPANY, TO ANSWER OR
     OTHERWISE PLEAD AGAINST STATE PARKWAY CONDOMINIUM
            ASSOCIATION’S THIRD-PARTY COMPLAINT

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       NOW COMES the, Third-Party Defendant, Harleysville Lake States Insurance Company

(“Harleysville”), by an through its attorneys, SmithAmundsen, LLC, and for agreed motion for

an extension of time to answer or otherwise plead against State Parkway Condominium

Association’s (“State Parkway”) Third Party Complaint, states as follows:

       1.     State Parkway filed a Third-Party Complaint on October 31, 2017. (Doc. 43)

       2.     Harleysville filed its appearance on January 19, 2018.

       3.     This Court ordered an updated Status Report to be filed on or before January 24,

              2018.

       4.     Harleysville is securing certified copy of the Policy at issue for its responsive

              pleading and its counsel is waiting for a copy of the file materials to review in

              preparation of responding.

       5.     No enlargement of time has been previously requested in this case and no dates

              have been set for pre-trial conference or trial and the extension of time will not

              delay any pending Court ordered hearing or Status Report.

       6.     The relief requested is for good cause and will not result in undue delay in the

              administration of this case.

       7.     State Parkway’s counsel has no objection to the said motion and has agreed to an

              enlargement of time for Harleysville to answer or otherwise plead against the

              Third Party Complaint.

       WHEREFORE, Third-Party Defendant, Harleysville Lake States Insurance Company,

respectfully requests that this Court extend the time for Harleysville to file its answer or

responsive pleading against State Parkway Condominium Association’s Third-Party Complaint

to February 28, 2018.

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                                                     Respectfully Submitted,


                                             By:     /s/ Sulema Medrano
                                                     Sulema Medrano (ARDC # 6299490)
                                                     SmithAmundsen, LLC
                                                     150 N. Michigan, Suite 3300
                                                     Chicago, Illinois 60601
                                                     Telephone: 312-8964-3244
                                                     Email: Smedrano@salawus.com




                                CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2018, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all parties of record in this case by operation of the Court’s electronic filing system. Parties
may access this filing through the Court’s system.

                                             /s/ Sulema Medrano
                                             Sulema Medrano (ARDC # 6299490)
                                             SmithAmundsen, LLC
                                             150 N. Michigan, Suite 3300
                                             Chicago, Illinois 60601
                                             Telephone: 312-8964-3244
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